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U.S. Department of Justice

Andrew E. Lelling
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District of Massachusetts

 

 

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April 9, 2019

By Docketing & Email

Honorable Patti B. Saris

United States District Court
Moakley Courthouse

One Courthouse Way, Suite 2300
Boston, MA 02210

Re: College Admissions Prosecutions, No. l9-MC-9l l34-PBS
Dear Chief Judge Saris:

By letter of today, you asked my office to respond to a letter sent to you by defense counsel
representing certain defendants in the recently filed college admissions cases.

Defense counsels’ letter is procedurally inappropriate and disingenuous. They invite you
to circumvent federal procedural criminal law by altering the judicial assignment process to suit
their preferences and/or preemptively ruling on joinder and severance issues. As made clear in the
government’s indictments and complaint affidavit, the government has asserted a straightforward
conspiracy among William Singer, his associates, college coaches and various parents of college
applicants1 ln this context, seeking superseding indictments to add co-conspirators is routine, as
is post-indictment litigation of issues concerning joinder and severance of defendants and claims.
Like all litigants, counsel will be free to air all relevant arguments in a proper, public, judicial
proceeding governed by the F ederal Rules of Criminal Procedure.

l assume it is obvious that defense counsels’ letter has nothing to do with the integrity of
the judicial assignment process. Counsel wrote the letter because they do not want Judge Gorton
to preside over these cases, so they have asked the Court to manipulate the judicial draw under the
guise of protesting manipulation of the judicial draw. What counsel fail to say - but of course
mean ~ is that they want a different judge because they perceive Judge Gorton as imposing longer

 

1 There are two unsealed indictments to date: Um'tea' Stal‘es v. Sidoo, et al., l9-CR-10080~NMG
(charging parents), and Um`ted States v. Ernst, et al., l9-CR-l0081-IT (charging coaches and associates of
William Singer). ln contrast to defense counsels’ claims, many of the parents do know each other. See
also, e.g., Um`ted Sates v. Abbott, et al., l9-MJ-6087 at 111 Sla, 148 (affldavit in support of complaint .
charging parents).

 

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sentences in criminal cases than other judges in this district; if this matter had been drawn to a
judge viewed as more favorable to the defense, counsel would not have sent the letter. Thus, they
want you to take the unprecedented step of removing a case (Unil‘ea' Sl‘ates v. Sia'oo, et al.) from a
judge who has already drawn it simply because, in defense counsel’s view, another draw would
benefit their clients.

This morning’s letter was inappropriate - a “Hail Mary” by people who know better and
Who appear to have leaked the letter to the press right after sending it to you. l am a veteran federal
prosecutor. l take seriously this office’s ethical obligations and the obligation to be fair in both
appearance and substance That is how we have proceeded in this case.

Sincerely,

 

 

Andrew E. Lelling
United States Attorney

cc: Honorable Nathaniel l\/[. Gorton

